Case 22-20823-GLT       Doc 234     Filed 12/02/22 Entered 12/02/22 11:10:13FILED
                                                                               Desc Main
                                   Document      Page 1 of 5                12/02/2022 10:24 AM
                                                                                      CLERK
                                                                                      U.S. BANKRUPTCY
                     IN THE UNITED STATES BANKRUPTCY COURT                            COURT - WDPA
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re: U LOCK INC. a/k/a              )
  U-LOCK INC.                           )       Case. 22-20823-GLT
                                        )
                        Debtor.         )
                                        )

     SUPPLEMENTAL DECLARATION OF GEORGE SNYDER IN REFERENCE TO
                        CERTAIN EQUIPMENT

         I, George Snyder, declare and state under the penalty for perjury that the following is true

  and correct to the best of my knowledge, information and belief (28 USC 1746):

            1.   My name is George Snyder. I am making this declaration as directed by the

                 Court to provide information as to property removed from the Estate.

            2. In my Declaration that I prepared yesterday and upload in the night, I forgot an

                 item I removed that does not belong to the Estate. I removed an old yellow

                 tri-axle tilt bed trailer I purchased from a former tenant of U Lock, Vince (Last

                 name unknown) for $100. The present location of this item is 150 Leger Road,

                 North Huntingdon, Pennsylvania.

            3. This is the vehicle used to remove the red low boy (Estate property) on October

                 22, 2022. This same truck was hired by the Biros family to move several tractor

                 trailers that were on the property from their location to a different place near the

                 highway.
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          4. This is Robert Biros with an unknown individual on October 14 2022 taking U

             Lock scrap metal and loading onto a truck.
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          5. On October 21, 2022, after the meeting with the Trustee,

             Robert Biros loaded up this guys truck with the excavator
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             track.




          6. This is October 12 2022, Robert Biros and Andy Biros damaging

             storage unit doors that were temporarily removed from a unit.
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       Dated this 2nd day of December 2022.




                                              _________________________________
                                              George Snyder
